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                     EXHIBIT A




{41824682;1}
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  District Court, Denver County, Colorado
  1437 Bannock St.
  Denver, CO 80202                                           DATE FILED: May 12, 2017 10:08 AM
  720-865-8301                                               FILING ID: 786CB5C2B95A5
                                                             CASE NUMBER: 2017CV31756
  Plaintiff(s): Gregory J. Greetham

  v.
                                                               COURT USE ONLY
  Defendant(s): Equifax Information Services, LLC;
  Experian Information Solutions, Inc; Trans Union,
  LLC; and Navient Solutions, LLC

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                                        COMPLAINT

   1.   Plaintiff is an individual consumer.

   2.   Defendant Experian Information Solutions, Inc. ("XPN") is a consumer
        reporting agency located in Costa Mesa, California.

   3.   Defendant Trans Union, LLC ("TU") is a consumer reporting agency located
        in Chicago, Illinois.

   4.   Defendant Equifax Information Services, LLC ("EFX") is a consumer
        reporting agency located in Atlanta, Georgia.




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   5.   Defendant Navient Solutions, LLC ("Navient") is a Delaware LLC located at
        2001 Edmund Halley Drive, Reston, VA 20191. Navient was formerly part of
        Sallie Mae.

   6.   From 2006 - 2008, Plaintiff was active duty in the U.S. Army stationed in
        Fort Carson in Colorado Springs, CO. During this timeframe, Plaintiff was
        deployed to Iraq.

   7.   Plaintiff later became aware that while he was in Iraq, his identity was
        stolen and two student loan accounts were fraudulently opened in his name
        with Sallie Mae.

   8.   Defendant Navient obtained the servicing rights to the fraudulent loans
        opened in Plaintiff’s name.

   9.   In or around February 2017, Plaintiff became aware that his credit reports
        were reflecting that he was liable for the 2 fraudulent Navient loans, that the
        loans were in a charge off status, and past due.

  10.   In February 2017, Plaintiff sent written disputes to the major consumer
        reporting agencies: Innovis, Experian, Equifax, and Trans Union.

  11.   EFX, XPN, and TU compiled Plaintiff’s February 2017 dispute into an ACDV
        form, and notified Navient of the disputes through the e-Oscar system.

  12.   Navient responded to EFX, XPN, and TU that the information was accurate,
        and to continue reporting the loans as previously reported.

  13.   Innovis conducted an investigation into Plaintiff’s dispute, and unlike XPN,
        EFX, and TU, Innovis deleted the fraudulent Navient accounts from
        Plaintiff’s Innovis credit file.

  14.   In March 2017, XPN responded to Plaintiff’s dispute that it would not be
        removing the Navient accounts from Plaintiff’s credit file. XPN did nothing
        to investigate Plaintiff’s dispute, other than to simply contact Navient, and
        parroted Navient’s response.

  15.   Experian’s actions of parroting Navient were a reckless disregard for its
        obligations to perform a reasonable re-investigation into Plaintiff’s disputes,
        especially since XPN has been on notice for years that parroting is not a
        reasonable re-investigation as a matter of law.

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  16.   In March 2017, TU responded to Plaintiff’s dispute that it would not be
        removing the Navient accounts from Plaintiff’s credit file. TU did nothing to
        investigate Plaintiff’s dispute, other than to simply contact Navient, and
        parroted Navient’s response.

  17.   TU’s actions of parroting Navient were a reckless disregard for its obligations
        to perform a reasonable re-investigation into Plaintiff’s disputes, especially
        since TU has been on notice for years that parroting is not a reasonable re-
        investigation as a matter of law.

  18.   Plaintiff has no record of receiving any response to his Feb. 2017 dispute from
        EFX.

  19.   In March 2017, Plaintiff sent another round of disputes to XPN, EFX, and
        TU, this time attaching an identity theft affidavit to his dispute.

  20.   XPN, EFX, and TU compiled Plaintiff’s Mar. 2017 dispute into an ACDV form
        and notified Navient of Plaintiff’s disputes through the e-Oscar system.
        Navient again responded to XPN, EFX, and TU to continue reporting the
        account as previously reported. Alternatively, XPN, EFX, and TU failed to
        notify Navient of Plaintiff’s March 2017 dispute.

  21.   In April 2017, TU responded to Plaintiff that it would not be removing the
        fraudulent Navient tradelines from his TU credit file.

  22.   In April 2017, EFX responded to Plaintiff that it would not be removing the
        fraudulent Navient tradelines, and that it had “verified” that these items
        belonged to Plaintiff.

  23.   In April 2017, XPN responded to Plaintiff that it had completed the
        processing of its reinvestigation, and would not be removing the fraudulent
        Navient tradelines.

               COUNT I, FAIR CREDIT REPORTING ACT (FCRA)

  24.   Plaintiff re-alleges and incorporates his above allegations as if fully set out
        herein.

  25.   Defendants TU, EFX, and XPN negligently and willfully violated the FCRA
        in the following ways: failing to follow reasonable procedures to ensure

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           maximum possible accuracy of the information in Plaintiff’s consumer
           reports, 15 U.S.C. § 1681e(b), allowing Navient to obtain Plaintiff’s consumer
           reports without a permissible purpose, 15 U.S.C. § 1681b, failing to conduct a
           reasonable re-investigation into Plaintiff’s various disputes, 15 U.S.C. §
           1681i, and failing to provide Plaintiff with a complete copy of his credit file
           upon request, 15 U.S.C. § 1681g.

  26.      Defendant Navient negligently and willfully violated the FCRA in the
           following ways: failing to conduct a reasonable investigation into Plaintiff’s
           disputes, including failing to mark the tradelines as disputed, 15 U.S.C. §
           1681s-2(b). Navient recklessly disregarded its rights and duties under the
           FCRA by failing to properly review and consider all the information in its
           possession to learn that Plaintiff was an identity theft victim, including
           Plaintiff’s ID Theft affidavit, the fact that Plaintiff was in Iraq when the
           loans were taken out in his name, failing to follow reasonable procedures to
           investigate identity theft disputes, and failure to review and consider the
           information in its own possession which would validate Plaintiff’s claims.

  27.      Defendant XPN’s violations of the FCRA caused Plaintiff actual damages to
           be determined at trial, including inconvenience, invasion of privacy, and
           damage to his XPN credit score.

  28.      Defendant EFX’s violations of the FCRA caused Plaintiff actual damages to
           be determined at trial, including damage to his EFX credit score, frustration,
           and inconvenience.

  29.      Defendant TU’s violations of the FCRA caused Plaintiff actual damages to be
           determined at trial, including damage to his TU credit score, invasion of
           privacy, and inconvenience.

  30.      Defendant Navients’s violations of the FCRA caused Plaintiff actual damages
           to be determined at trial, including lost credit opportunities, embarrassment,
           anger, frustration, lost time, damage to reputation, and emotional distress.

  31.      Plaintiff seeks punitive damages against the Defendants, together with
           reasonable attorney fees and costs.

 WHEREFORE, Plaintiff prays for the following relief:

        a. Actual damages to be determined at trial;
        b. Punitive damages to be determined at trial;

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    c. Attorney fees and costs;
    d. For such other relief as may be proper.

 s/ Matthew R. Osborne
 Attorney for Plaintiff




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